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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

CONNIE MOORMAN WILLIS,

        Petitioner,

v.                                                              Case No: 5:18-cv-637-Oc-37PRL

UNITED STATES OF AMERICA

        Respondent.


                                             ORDER

        Pending before the Court now are Respondent’s Motion for an Order Requiring Former

Defense Counsel to Disclose Substance of Communications and to Provide Affidavit (Doc. 3) and

Respondent’s Unopposed First Motion for an Extension of Time (Doc. 4). Upon due consideration,

it is hereby Ordered as follows:

     1. Respondent’s Motion for an Order Requiring Former Defense Counsel to Disclose

        Substance of Communications and to Provide Affidavit (Doc. 3) is GRANTED.

     2. Mary Anderson, Assistant Federal Public Defender, shall

            a. provide an affidavit discussing the allegations raised by Willis in her section 2255

               petition, including (a) her discussions with Willis relating to potential prison terms

               and guidelines applications; (b) motions for a variance based upon lack of criminal

               history/the ability to liquidate assets and pay some restitution in advance of

               sentencing; and (c) and efforts to assist the defendant in obtaining a potential

               “substantial assistance” reduction;

            b. produce any records, including correspondence, relevant to the above claims; and

            c. submit the affidavit and materials to the United States by June 10, 2019.
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   3. Respondent’s Unopposed First Motion for an Extension of Time (Doc. 4) is GRANTED.

       The Response to the Petition shall be filed by August 9, 2019.

       IT IS SO ORDERED.

       DONE AND ORDERED at Ocala, Florida, this 10th day of May 2019.




Copies to:
Counsel of Record
Unrepresented Parties
Mary Anderson, Assistant Federal Public Defender




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